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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:12CR282
       vs.                                 )
                                           )                       ORDER
ADRIAN PISARES-VALENZUELA,                 )
                                           )
                                           )
                     Defendant.


         This matter is before the court on defendant's FINAL APPLICATION FOR
ENLARGEMENT OF TIME TO FILE PRETRIAL MOTIONS [202]. For good cause shown,
I find that the motion should be granted. The defendant will be given an approximate 7-
day extension. Pretrial Motions shall be filed by January 7, 2013.

       IT IS ORDERED:

      1.  Defendant's FINAL APPLICATION FOR ENLARGEMENT OF TIME TO FILE
PRETRIAL MOTIONS [202] is granted. Pretrial motions shall be filed on or before January
7, 2013.

       2.     The defendant is ordered to file a waiver of speedy trial as soon as
              practicable.

        3.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between December 31, 2012 and
January 7, 2013, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 2nd day of January, 2013.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
